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IN THE UNlTED S'I`ATES DISTRICT COURT FOR 'I`HE
EASTERN DlSTRICT OF VIRGINIA
Alexandria Division

JUSTlN FESSLER, )
Plaintiff, )

)

v. ) Civil Action No. 1:18-cv-798

)

INTERNATIONAL BUSINESS MACHINES )
CORPORATlON, )
Defendant. )

)

MEMORANDUM OPINION

This is a dispute between plaintiff, Justin Fessler, and his former employer, defendant
Intemational Business Machines Corporation (“IBM”), over whether liessler is owed additional
commissions. Fessler contends that lBM was obligated to pay him uncapped commissions and
failed to do so. For its part, lBM contends that it had no obligation to pay liessler any additional
commissions.

For the reasons that follow, lBM’s Motion to Dismiss must be granted.

I.

The Rule 12(b)(6) standard is too well-settled to warrant extensive discussion. In essence,
on a threshold motion to dismiss, a court must determine whether the complaint contains
“sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its face.”
Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (intemal quotation marks and citation omitted).

ll.l
Fessler began employment with lBM as a salesman in 2008. l'lis compensation consisted

of a base salary and commissions. During the period relevant to this dispute, Fessler had three

 

' The facts recited herein are derived from Fessler’s Comp|aint.

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commission plans. The first was in effect from January l, 2016 through June 30, 2016, the
second was in effect from January l, 2017 through June 30, 2017 and the third was in effect from
July l, 2017 through December 2l, 2017. Each plan was described in a written Incentive Plan
Letter (“IPL”) that Fessler accepted.2 The IPL for each period described the terms of the
commission plan offered to, and accepted by. Fessler. Each IPL contained a number of
disclaimers that were, with one exception, essentially identical in relevant part. Specitically, each
IPL contained a “Right to Modify or Cancel” disclaimer. ln the first half of 2017. the IPL

stipulated that

The Plan does not constitute an express or implied contract or a promise by lBM
to make any distributions under it. lBM reserves the right to adjust the Plan terms,
including, but not limited to, changes to sales performance objectives, assigned
territories or account opportunities, applicable incentive payment rates or similar
earnings opportunities, or to modify or cancel the Plan, for any individual or
group of individuals, including withdrawing your accepted Incentive Plan Letter
if your incentive eligibility status changes.

Def.’s Ex. 2. The IPLs for the first half of 201 6 and second half of 2017 contained essentially
identical disclaimers.3 The lPLs also contained disclaimers about “Adjustments for Errors.”
Specifically, each IPL provided that

lBM reserves the right to review and, in its sole discretion, adjust or require
repayment of incorrect incentive payments resulting from incomplete incentives
processes or other errors in the measurement of achievement or the calculation of
payments, including errors in the creation or communication of sales objectives
Depending on when an error is identified, corrections may be made before or after

 

3 The lPLs attached to |BM’s Motion to Dismiss may be considered at this stage because they were integral to the
Complaint and Fessler does not dispute their accuracy. See Gor`nes v. Valley Cmty. Servs. Bd., 822 F.3d 159, 166
(4th Cir. 2016) (noting that, on a motion to dismiss, courts "may consider a document submitted by the movant that
was not attached to or expressly incorporated in a complaint, so long as the document was integral to the complaint
and there is no dispute about the document’s authenticity").

3 Unlike the 2017 lPLs, the IPL for the first half of 20|6 stipulated that “lBM reserves the right to adjust the Plan
terms . . . up until any related payments have been earned under the Plan terms.” Def.’s Ex. l. This |PL language
does not affect the outcome here, as Fessler makes clear that his claim to additional commissions is not based on the
lPLs and concedes that the lPLs are not enforceable contracts.

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the last day of the full-Plan period, and before or after the affected payment has
been released.

Def.’s Ex. 1-3. 'I`he lPLs also included a disclaimer providing for “Review of a Speciflc
Transaction.” The IPL for the first half of 201 7 stipulated that

If a specific customer transaction has a disproportionate effect on an incentive

payment when compared with the opportunity anticipated during account

planning and used for the setting of sales objectives, or is disproportionate

compared with your performance contribution towards the transaction, IBM

reserves the right to review and, in its sole discretion, adjust the incentive

achievement and/or related payments
Def.’s Ex. 2. The lPLs for the first half of 2016 and second half of 2017 contained essentially
identical provisions

For each plan period, both before and after Fessler accepted the applicable IPL, lBM
provided Fessler with a PowerPoint presentation describing the terms of the commission plan he
was offered and ultimately accepted. Each PowerPoint stated that “payments” and “eamings
opportunit[ies]” were “uncapped.” lBM managers repeated these statements to Fessler during
sales meetings

Fessler alleges that these oral and written statements obligated lBM to pay him uncapped
commissions Fessler further alleges that lBM failed to pay him the full commission he was
owed on three separate deals First, Fessler was paid $50,000 rather than the $258,200 he
expected from a deal that closed in .lune 2016 with the United States Census Bureau. lBM
explained that Fessler was credited with only a portion of the deal’s revenue because of Fessler`s
contribution to the deal. Second, in May 2017, Fessler was paid about $30,000 rather than the
5100,000 he expected on a deal with the Department of Defense Special Operations Command.
lBM explained that the account had been put under a Target Account Absolute Plan, under

which approximately 3.5% of sales revenue was allocated to commissions for all sales

representatives involved in a sale of lBM products and services to the Department of Defense

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Special Operations Command. Third, Fessler closed a deal in December 2017 with the United
States Customs and Border Protection Agency. Contrary to Fessler’s expectations Fessler did
not receive a commission on the deal. After the deal closed, IBM explained that the account had
been removed from Fessler’s responsibility.

lll.

At issue now is IBM’s Motion to Dismiss Fessler’s Complaint pursuant to Rule l2(b)(6),
Fed. R. Civ. P. Fessler’s Complaint asserts six claims: (i) breach of oral and/or implied contract,
(ii) quantum meruit, (iii) unjust enrichment, (iv) fraudulent misrepresentation, (v) negligent
misrepresentation and (vi) punitive damages Each claim is addressed below.

A.

Count l of Fessler’s Complaint alleges breach of an oral and/or implied contract. Fessler
concedes that the lPLs are not enforceable contracts but he argues that he has an oral and/or
implied contract with lBM based on (i) a PowerPoint presented to Fessler that stated “earnings
opportunity” and “payments” were “uncapped," (ii) statements by lBM executives that
commissions would not be capped and (iii) the fact that, to Fessler’s knowledge, lBM had never
capped a commission. lBM argues that Fessler’s breach of oral and/or implied contract claim
fails as a matter of law because Fessler’s lPLs preclude the existence of an oral and/or implied
contract by establishing that no meeting of the minds occurred. This argument is correct.

Under Virginia law,4 “mutuality of assent_the meeting of the minds of the parties-is an
essential element of all contracts.” Green ’s Ex ’rs v. Smi!h, 146 Va. 442, 452 (Va. 1926). The
lPLs make clear that no meeting of the minds occurred here, as they establish that lBM lacked

the intent to obligate itself to pay Fessler uncapped commissions Rather, the lPLs indicate that

 

4 The parties agree that Virginia law applies to this diversity action.

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IBM intended the opposite, namely to maintain sole discretion over the amount, if any, of
commission payments Each IPL clearly stated that, “The Plan does not constitute an express or
implied contract or a promise by lBM to make any distributions under it.” Def.’s Ex. 1-3. Each
lPL also specified that “IBM reserves the right to adjust the Plan terms . . . or to modify or
cancel the Plan.” ld. The lPLs further provided that “lBM reserves the right to review and, in its
sole discretion, adjust the incentive achievement and/or related payments” when “a specific
customer transaction has a disproportionate effect on an incentive payment when compared with
the opportunity anticipated during account planning . . . or is disproportionate compared with
[Fessler’s] performance contribution towards the transaction.” Def.’s Ex. 2, 3.5 The lPLs further
provided that “IBM reserves the right to review and, in its sole discretion, adjust or require
repayment of incorrect incentive payments . . . , including [those resulting from] errors in the
creation or communication of sales objectives.” Def.’s Ex. 1-3. Accordingly, as these IPL
provisions make clear, IBM intended to maintain exclusive control over the amount of
commission payments under the Plan, and, indeed, over whether the Plan would continue to
remain in effect. This intent to maintain complete control over the Plan, including its continued
existence, is incompatible with the intent to enter a contract guaranteeing commissions would not
be capped. Accordingly, no meeting of the minds occurred and Fessler’s breach of oral and/or
implied contract claim fails as a matter of law.

This conclusion is supported by Jensen v. lnternational Business Machines Corp., 454
F.3d 382 (4th Cir. 2006), in which the Fourth Circuit affirmed the grant of summary judgment to
lBM in a similar action in which a salesman claimed lBM underpaid the commissions he was

due. The plaintiff in Jensen argued that his employee quota letter (essentially equivalent to

 

5 The 20|6 lPL contained essentially identical language that differed only in form. Def.’s Ex. l.

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Fessler’s IPLs) and an accompanying brochure created an obligation that lBM not cap
commissions The Fourth Circuit rejected this argument, reasoning that lBM’s disclaimers of any
obligation to pay commissions similar to the disclaimers in Fessler’s lPLs, “manifested [IBM’s]
clear intent to preclude the formation of a contract.” ld. at 388. The Fourth Circuit thus

"view[ed] th[e] case as an effort by [plaintiff] to create an enforceable contract out of a policy
that expressed lBM’s contrary intentions” and concluded that the “Plan [is] no more than an
announcement of a policy expressing [lBM’s] intent to pay incentives in specified amounts but
retaining full discretion to determine amounts until the time that they are actually paid.” Id. at
390. Although Jensen 's holding_-that the documents describing the incentive plan did not
constitute an offer that the plaintiff could accept-is not dispositive here, the Jensen Court’s
reasoning is controlling. Specifically, Fessler’s argument that lBM intended to obligate itself not
to cap commissions is foreclosed by the Jensen Court’s conclusion that lBM clearly expressed its
intent to retain full discretion over commission payments Moreover, in a more closely analogous
case, the Second Circuit concluded that the plaintiffs lPL precluded the existence of an implied-
in-f`act contract arising out of lBM’s prior actions because the IPL made “clear that IBM never
intended to create a binding contract governing incentive compensation.” Kavitz v. IBM. 458 F.
App’x 18, 20 (2d Cir. 2012). Indeed, every circuit that has addressed similar claims regarding
lBM’s alleged underpayment of commissions has rejected these claims on the basis of reasoning
that is fatal to Fessler’s claim. See Wilson v. lBM, 610 F. App’x 886, 888-89 (l lth Cir. 2015)
(assuming without deciding that the IPL was an enforceable contract but nonetheless holding that
“IBM holds the cards with respect to how sales commissions are calculated . . . the lPL gave
lBM the unilateral and unconditional authority to modify [plaintiff’s] sales quota"); Geras v.

IBM, 638 F.3d 1311, 1317 (10th Cir. 2011) (concluding that the lPL “made clear lBM’s intent

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not to enter into an enforceable contract to provide incentive payments”). Like the Fourth Circuit
in Jensen, these circuits were determining whether the plaintiffs’ lPLs created an obligation not
to cap commissions See Wilson, 610 F. App’x at 888; Geras, 638 F.3d at 1314. However, the
reasoning is nevertheless applicable here because the lPLs in those cases contained disclaimers
similar to the disclaimers in Fessler’s lPLs Wilson, 610 F. App’x at 887-87; Geras, 638 F.3d at
1313-14.

Fessler’s argument that the lPLs do not undermine his breach of implied and/or oral
contract claim because he alleges the existence of “a separate and enforceable contract not to cap
commissions” is unavailing The lPLs clearly state that “The Plan does not constitute an express
or implied contract or a promise by lBM to make any distributions under it.” Def.’s Ex. l-3
(emphasis added). The lPLs clarify that this “Plan” is “The Incentive Plan to which [Fessler was]
assigned.” Id. And Fessler acknowledges that the PowerPoint on which he bases his contract
claim “describe[ed] the terms of the commission plan being offered to [him].” Pl.’s Compl. j 12.
Thus, the PowerPoint that Fessler alleges created a contract is part of “The Plan,” which lBM
clearly stated did “not constitute an express or implied contract or a promise by lBM to make
any distributions under it.”° Def.’s Ex. 1-3. This unambiguous statement shows that, as a matter
of law, IBM lacked the intent to enter a contract not to cap commissions

Furthermore, it would be meaningless if not contradictory, to argue that lBM
contractually agreed not to cap commissions that, according to the IPLs, lBM had no obligation
to pay. Because the lPLs reserved lBM the right to modify or eliminate the Plan, a promise not to

cap commissions paid pursuant to the Plan would be hollow. lndeed, it seems such a promise

 

6 Similarly, the lBM managers’ oral representations and lBM’s history of paying commissions on which Fessler also
bases his contract claim refer to the same Plan and thus cannot be the basis of an oral or implied contract, as there
was no mutual assent.

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would be illusory and unenforceable under Virginia law. See Town of Vintr)n v. Cin ofRoam)ke,
195 Va. 881, 886 (Va. 1954) (citation omitted) (“[T]here must be absolute mutuality of
agreement, so that each party has the right to hold the other to a positive agreement Both parties
must be bound or neither is bound.”).

Fessler’s argument that his contract claim should not be dismissed because lBM admits
that it has an obligation not to cap commissions is equally unavailing Fessler relies on testimony
from an IBM corporate designee, a former lBM Vice President of Software Sales and two lBM
managers taken during the course of litigation in Choplin v. ]mernali¢)nal Busz'ness Machines
Corp., No. l6-cv-1412 (M.D.N.C. filed Dec. 16, 2016), a district court case dismissed by the
parties prior to resolution.7 Fessler’s reliance on this testimony is unavailing, as Fessler ignores
the context of the purported admissions Specifically, the lBM witnesses testified that IBM had
an obligation not to set an arbitrary ceiling on the total amount of compensation a salesperson
could receive.8 Martinotti Dep. 105:20-107:17; Batthany Dep. 99:17-101:15; Maleki Dep.
60:23-61:10; Dorsey Dep. 74:17-75:4. Each witness maintained that lBM retained the authority
to adjust the amount of commission awarded for specific deals ld. Although Fessler alleges that
his commissions were arbitrarily capped, he does not allege that lBM set a particular ceiling on
the total amount of compensation he could receive, but rather he complains about specific
adjustments Moreover, any admission by IBM, in a separate litigation involving different

parties of an obligation not to cap commissions is unpersuasive in light of the lPLs’

 

7 Notably, although some of the claims survived lBM’s Motion for Judgment on the Pleadings, the North Carolina
district court did not consider the lPLs’ effect on the claims because the plaintif`f, perhaps strategically, neglected to
incorporate the lPLs into the complaint. See Choplin v lBM, No. l6-cv-l412, at *8-* 10 (M.D.N.C. Aug. 30, 2017)
(R. & R.), adopted by No. 16-cv~l412 (M.D.N.C. Sept. 18, 20|7) (Order).

8 lt is not clear lBM owes such an obligation to Fessler. Fessler concedes that his lPLs are not enforceable contracts
and, for the reasons discussed herein, the lPLs preclude the existence of a separate contract not to cap commissions
Thus, lBM’s statements that “earnings opportunity remains uncapped” were, as the Fourth Circuit noted in
addressing similar statements merely “the announcement of a nonbinding intention.” Jensen, 454 F.3d at 390.

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unambiguous disclaimers clearly evincing lBM’s intent not to be obligated to make commission
payments As the Fourth Circuit concluded in Jensen, the statements in the PowerPoint and by
IBM managers were nothing more than “the announcement of a nonbinding intention, much like
that in which an employee is told that he will be paid a bonus if the company does well . . . .
[A]ny disagreement over what was announced does not form the basis for a lawsuit for breach of
contract.” 454 F.3d at 390. As such, Fessler’s breach of an oral and/or implied contract claim
fails as a matter of law.

B.

Counts II and lII of Fessler’s Complaint allege claims for quantum meruit (breach of a
contract implied in fact) and unjust enrichment (breach of a contract implied in law). The parties
agree that Virginia law requires proof of the same elements to succeed on these claims
Specifically, to succeed on either theory, Fessler must establish that (i) he “conferred a benefit
on” IBM, (ii) lBM “knew of the benefit and should reasonably have expected to repay” Fessler
and (iii) lBM “accepted or retained the benefit without paying for its value.” Schmidt v.
Household Fin. Corp., II, 276 Va. 108, 116 (Va. 2008); see also Raymr)na', Colesar, Glaspy &
Huss, P.C. v. AIlied Capital Corp., 961 F.2d 489, 490-91 (4th Cir. 1992). Additionally, the
Supreme Court of Virginia has made clear that “[o]ne may not recover under a theory of implied
contract . . . without adducing other facts to raise an implication that the defendant promised to
pay the plaintiff for such benefit.” Nedrich v. Jones, 245 Va. 465, 476 (Va. 1993). Fessler’s
quantum meruit and unjust enrichment claims fail as a matter of law because lBM did not

reasonably expect to pay Fessler additional commissions nor did lBM promise to do so.

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'l`he facts reveal that IBM did not reasonably expect to pay Fessler greater commissions
The lPLs made it possible for Fessler to receive commissions in addition to his salary,9 but
clearly foreclosed any guarantee of commission payments Fessler accepted the terms of each of
the three relevant IPLs. Because Fessler accepted these IPLs, and they clearly stated that lBM
could modify or eliminate Fessler’s commission payments neither lBM nor Fessler could have
reasonably expected that lBM would pay Fessler commissions greater than the commissions he
received.

Moreover, under Virginia law, a party “may not recover under a theory of implied
contract . . . without adducing other facts to raise an implication that the defendant promised to
pay the plaintiff for such benefit.” Nedrich, 245 Va. at 476. The facts here establish the opposite:
lBM expressly disclaimed any obligation to pay Fessler commissions on his sales lndeed, each
IPL clearly stated that “The Plan does not constitute . . . a promise by lBM to make any
distributions under it.” Def.’s Ex. 1-3. Fessler cannot plausibly allege that lBM promised to pay
him greater commissions given this clear statement to the contrary. See also Kavitz v. IBM, 458
F. App’x 18, 20 (2d Cir. 2012) (internal quotation marks and citations omitted) (rejecting a claim
of promissory estoppel because “the Plan negates any inference that lBM made a clear and
unambiguous promise to pay incentive compensation”). Any statements made by lBM or its

employees about uncapped commissions were merely “the announcement of a nonbinding

 

9 lBM correctly argues that Fessler’s implied contract claims fail for the additional reason that “an at-will salaried
employee . . . should not be able to recover for unjust enrichment because the payment of a salary represents
payment for work performed during the term of such employment." Appleton v. Bonduram & Appletr)n, P.C., 68 Va.
Cir. 208, 225 (Va. Cir. 2005). Although Fessler is correct that this principle does not apply where “an agreement
provides otherwise,” Fessler has failed to allege plausibly that an agreement provided otherwise. ld. As discussed
above, Fessler’s lPLs clearly provided that commissions were discretionary. See Def.’s Ex. 1-3.

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intention.” Jensen v. [BM, 454 F.3d 382, 390 (4th Cir. 2006). As such, Fessler’s quantum meruit
and unjust enrichment claims fail as a matter of law.'°
C.

Count IV of Fessler’s Complaint alleges fraudulent misrepresentation To state a claim
for fraud under Virginia law, a plaintiff must establish by clear and convincing evidence “(l) a
false representation, (2) of a material fact, (3) made intentionally and knowingly, (4) with intent
to mislead, (5) reliance by the party misled, and (6) resulting damage to the party misled.”
Richmond Metro. Auth. v. McDevitt Street Bovis, lnc., 256 Va. 553, 557-58 (Va. 1998).
Furthermore, “[i]n order to prove reliance, a plaintiff must demonstrate that its reliance upon the
representation was reasonable and justified.” Hitachi Credit Am. Corp. v. Signet Bank, 166 F.3d
614, 629 (4th Cir. 1999) (citation omitted); see also Masche v. Nichols, 188 Va. 857, 867-68
(Va. 1949). lBM argues that Fessler (i) failed to plead his fraud claim with the particularity
required by Rule 9(b), Fed. R. Civ. P.; (ii) cannot allege the requisite intent to deceive and (iii)
cannot allege reasonable reliance. Although the first two arguments are unavailing, the third is
successful, and thus Fessler’s fraudulent misrepresentation claim fails as a matter of law,

lBM first argues that Fessler fails to satisfy Rule 9(b)’s requirement that “a party . . . state
with particularity the circumstances constituting fraud.” Fed. R. Civ. P. 9(b), Although it is
perhaps debatable whether Fessler provided sufficient detail about the fraudulent statements

allegedly made by IBM sales executives Fessler satisfied Rule 9(b)’s particularity requirement

 

'° lBM also argues that Fessler cannot recover under quantum meruit or unjust enrichment because the lPLs “were
documents that spelled out the parties’ respective rights and responsibilities with respect to the payment of
commissions,” and a party may not recover under either theory when an express enforceable contract exists Def.’s
Mem. Supp. 13 (citing, among others Lion Assocs, LLC v. Swiftships Shipbuilders, LLC, 475 F. App’x 496, 503
(4th Cir. 2012)). This argument is foreclosed by the Fourth Circuit’s decision in Jensen, which found that similar
documents describing an lBM salesman’s commission plan did not constitute an enforceable contract. Jensen v.
[BM, 454 F.3d 382, 388 (4th Cir. 2006).

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by providing sufficient detail about the allegedly fraudulent statements in the PowerPoint. The
Fourth Circuit has approvingly cited the conclusion of “two noted scholars [that] the
circumstances required to be pled with particularity under Rule 9(b) are the time, place, and
contents of the false representations as well as the identity of the person making the
misrepresentation and what he obtained thereby.” Harrison v. Westinghouse Savannah River
Co., 176 F.3d 776, 784 (4th Cir. 1999) (intemal quotation marks and citations omitted). Here,
Fessler has alleged that, around the time he accepted the IPLs in 2016 and 2017 (time), false
representations were made in PowerPoints (place) that “[e]arnings opportunities remain
uncapped” (contents) by IBM (identity), causing Fessler to continue to work hard and sell as
much as possible (what was obtained). Pl.’s Compl. 1111 14, 76-77. Accordingly, Fessler has
satisfied Rule 9(b). See McCauley v. Ht)me Loan Inv. Bank, F.S.B., 710 F.3d 551, 559 (4th Cir.
2013) (f`tnding Rule 9(b) satisfied where the complaint alleged fraud in late summer or fall 2006
at plaintiffs house when an appraiser falsely stated that plaintiffs house was worth at least
$51,000, causing plaintiff to accept a $51,000 loan).ll

lBM next argues that Fessler cannot allege the intent to deceive required to state a claim
of fraudulent representation12 because lBM expressly informed Fessler in his lPLs that lBM had
the discretion to adjust commission payments But these disclaimers do not reveal lBM’s
motivation for informing salespeople that commissions were uncapped. As Fessler points out,
circumstantial evidence may be used to prove a party’s intent. Viney v. Commonwealth, 269 Va.

296, 301 (Va. 2005). Fessler has alleged that most employers in Fessler’s field do not cap

 

" This case supports the argument that Fessler satisfies Rule 9(b) with respect to the statements allegedly made by
lBM executives Fessler alleges that unidentified lBM executives made false statements similar to those in the
PowerPoint during sales meetings some of which were after Fessler signed the lPLs in 2016 and 2017. Pl.’s Compl.
1176-77, 79. Similarly, the Fourth Circuit in McCauley found Rule 9(b) satisfied where an unidentified appraiser
made an allegedly false statement in late summer or fall 2006. McCauley, 710 F.3d at 559.

‘2 Richmond Metro. Auth. v. McDevitt Street B¢)vis, lnc., 256 Va. 553, 557-58 (Va. |998).

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commissions and that lBM would be unable to recruit good salespeople if it informed
salespeople that their commissions could be capped. Pl.’s Compl. 1 50. Accordingly, it cannot be
said that Fessler fails to allege plausibly intent to deceive.

lBM’s final attack on Fessler’s fraudulent misrepresentation claim-the absence of
reasonable reliance-is successful. The parties agree that “to prove reliance [under Virginia law,]
a plaintiff must demonstrate that its reliance upon the representation was reasonable and
justified.” Hitachi Crea’it Am. Corp. v. Signet Bank, 166 F.3d 614, 629 (4th Cir. 1999) (citation
omitted); see also Masche v. Nichols, 188 Va. 857, 867-68 (Va. 1949). Here, Fessler cannot
establish that he reasonably relied on lBM’s statements that commissions would be uncapped
because, as discussed above, the lPLs clearly stated that they did not constitute a promise to
make commission payments and that lBM had the authority to adjust any such payments Def.’s
Ex. 1-3.

Fessler’s reliance on Hitachi Credit America Cr)rp. v. Signet Bank, 166 F.3d 614, 630
(4th Cir. 1999), for the proposition that contractual disclaimers are not an automatic bar to fraud
actions is misplaced. Although a correct statement of law, it does not save Fessler’s fraud claim.
ln Hitachi Credit America Corp., the Fourth Circuit noted that “a contractual disclaimer of
reliance is not a prophylactic against a claim of fraud. . . . [A] buyer can show that a contract of
sale was induced by the seller’s fraud, even though the written contract contains covenants
waiving warranties or disclaiming or limiting liabilities” Yet, IBM here did not merely disclaim
reliance or limit its liability; rather, lBM expressly warned Fessler of the very fact he now
complains of, namely that IBM could, and indeed might well, modify or eliminate his

commission payments Such an express disclaimer is not the sort of general disclaimer of

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reliance referred to in Hitachi Credit America Corp., but rather explicitly informed Fessler of
unfavorable tenns. As such, Hitachi Credit America Corp. is inapposite

Fessler also relies unsuccessfully, on deposition testimony from the Choplin case, First,
Fessler argues that an IBM corporate designee's "‘yes” response to the question, “it would be
reasonable for a salesperson like Bobby Choplin to rely on the information in Exhibit 65, 66 and
67 regarding their compensation plan‘?”'3 establishes that Fessler reasonably relied on lBM’s
statements that commissions would be uncapped. Fessler fails to identify or provide the
referenced exhibits Yet, even assuming one of the referenced exhibits is identical to the
PowerPoint on which Fessler bases his claims the corporate designee’s general affirmative
response cannot establish Fessler’s reasonable reliance given the exclusive discretion that the
lPLs reserve for lBM over commission payments This is especially so because lBM’s corporate
designee later explained that the lPLs reserved lBM the right to adjust commissions on specific
transactions ld. at 107:9-108:3.

Second, Fessler relies on testimony by Choplin’s immediate manager in that case.
Specifically, Fessler relies on Choplin’s manager’s affirmative answer to the question “would it
be reasonable for someone to understand that their commission payments were uncapped in the
first half of 201 5‘?” Batthany Dep. 79:16-19. Yet. Fessler fails to mention Choplin’s manager’s
explanation that although total “[e]amings opportunities remain uncapped, . . . transactions don’t
remain uncapped,” which, as Choplin’s manager explained, is stated in the lPL. ld. at 99:7-16.
As such, the brief out-of-context exchange Fessler cites-_the opinion of a manager about a
hypothetical salesman’s commissions in a prior year and different location-does not establish

that Fessler reasonably relied on lBM’s statements that commissions would be uncapped.

 

'3 Martinotti Dep. 67:22-68:1.

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Third, Fessler relies on a fortner lBM Vice President of Software Sales who testified that,
“[i]f I was [sic] a sales representative and l read [the statement that ‘eamings opportunity
remains uncapped,’] l would think that my earnings were uncapped,” Dorsey Dep. 481 1-2. Yet,
the referenced document-which plaintiff does not identify-was viewed and discussed in
isolation, ignoring the context, namely that the lPLs clearly state that IBM may adjust
commissions The lPLs in this case explicitly state that lBM did not promise to make any
commission payments under the Plan, that lBM had the right to modify or cancel the Plan and
that IBM could adjust commission payments in its sole discretion. Def.’s Ex. 1-3. As such, any
reliance by Fessler on lBM’s statements that commissions were uncapped was not reasonable as
a matter of law. Accordingly, Fessler’s fraudulent misrepresentation claim must be dismissed.

D.

Count V of Fessler’s Complaint asserts a claim for constructive fraud."‘ Under Virginia
law, constructive fraud requires proof of the same elements as actual fraud except “the plaintiff is
only required to plead that the false representation was made innocently or negligently” rather
than intentionally or knowingly. Sales v. Kecoughtan Housing Co., 279 Va. 475, 481 (Va. 2010);
Richmond Metro. Auth. v. McDevitt Street Bovis, Inc., 256 Va. 553, 557-58 (Va. 1998). Fessler’s
constructive fraud claim fails for the same reason that his actual fraud claim fails namely that
Fessler cannot establish reasonable reliance.

IBM argues that Fessler’s constructive fraud claim fails for the additional reason that it is
premised on a promise of future action, namely that lBM made a promise to pay Fessler

additional commissions in the future. Under Virginia law, a promise of future action maynot

 

“ Fessler captioned his claim “neg|igent misrepresentation,” but the parties agree Fessler intended to assert a
constructive fraud claim.

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support a claim of constructive fraud. Supervalu, !nc. v. Johnson, 276 Va. 356, 368 (Va. 2008).
Fessler argues that his constructive fraud claim is not based on future action because “lBM
represented that its policy was that commissions were uncapped when that wasn’t the case.” Pl.’s
Opp’n 21. Yet, Fessler’s Complaint alleges in the section captioned “Negligent
Misrepresentation,” that “lBM represented to Mr. Fessler that Mr. Fessler’s commission would
not be capped. " Pl.’s Compl. 11 83 (emphasis added). However, Fessler alleges earlier in his
Complaint that he was presented with a PowerPoint that stated “[e]arnings opportunity remains
uncapped” and “payments” are “uncapped." ld. 11 14. Because Fessler incorporated the prior
paragraphs of his Complaint, including this allegation, into his constructive fraud claim, the
Complaint plausibly alleges a false representation not based on a promise of future action.
However, Fessler’s constructive fraud claim must nonetheless be dismissed because, as
discussed with respect to his negligent misrepresentation claim, Fessler cannot establish
reasonable reliance.

E.

Finally, Count Vl of Fessler’s Complaint asserts a claim for punitive damages Because
Fessler’s fraud claim fails as a matter of law, and his claim for punitive damages is derivative of
his fraud claim, Fessler’s claim for punitive damages must be dismissed as well. See Zedd v.
Jenkins, 194 Va. 704, 706-07 (Va. 1953) (“The general rule is that a plaintiff cannot maintain an
action to recover mere punitive or exemplary damages and that a finding of compensatory
damages is a prerequisite to an award of exemplary damages.”).

Accordingly, and for the reasons discussed above, lBM’s Motion to Dismiss must be

granted.

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An appropriate Order will issue.

Atexandria, Virginia
November 28, 2018

     
  

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